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                                UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

            Plaintiffs,

v.
                                                          Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

            Defendants.




     PLAINTIFFS’ MOTION TO REMOVE ECF NOS. 206 AND 208 FROM THE DOCKET


               Plaintiffs respectfully submit this Motion to Remove ECF Nos. 206 (redacted version) and

     208 (sealed version) from the public docket. Both documents were filed as part of Plaintiffs’

     Opposition to Defendants’ Second Motion to Compel (ECF No. 191). Plaintiffs’ memorandum of

     law and supporting papers were filed on the docket yesterday. This morning, Plaintiffs discovered

     that a sentence that should have been removed from the memorandum was inadvertently left in the

     final draft during the editing process.      The redacted and sealed versions of the Amended

     Memorandum were filed on the docket this afternoon.1 Plaintiffs respectfully request that the

     Court grant this Motion and order that the clerk remove ECF Nos. 206 and 208 from the public

     docket.




     1
         Plaintiffs’ proposed correction does not affect any of the redacted portions of the memorandum.
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 Dated: July 9, 2019                      Respectfully submitted,

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